           Case 8-18-73255-reg            Doc 12       Filed 07/05/18     Entered 07/05/18 15:10:55


UNITED STATES BANKRUPTCY COURT                                     Return Date: July 26, 2018
EASTERN DISTRICT OF NEW YORK                                       Time: 9:30 a.m.
--------------------------------------------------------X
In re:
                                                                   Chapter 13
MARK TRICARICO                                                     Case No.: 18-73255-736

                           Debtor(s)                               NOTICE OF MOTION
--------------------------------------------------------X
SIRS / MADAMS

               PLEASE TAKE NOTICE, that MICHAEL J. MACCO, Chapter 13 Trustee of the above
captioned estate, will move before the Honorable Robert E. Grossman, United States Bankruptcy Judge on
the 26th day of JULY, 2018 at 9:30 a.m., at the United States Bankruptcy Court located at the Alfonse M.
D’Amato U.S. Courthouse, 290 Federal Plaza – Courtroom 860, Central Islip, New York 11722, for an
Order pursuant to 11 U.S.C. §§§§ 109(g), 521, & 1307(c), dismissing this case with prejudice, prohibiting
the debtor(s) from filing another petition under Chapter 13 or converting a Chapter 7 to Chapter 13 for a
period of one hundred eighty (180) days, by reason of the debtor(s)’ failure to submit monthly
pre-confirmation payments, failure to provide and/or file documents, failure to appear and/or be examined at
§341 meeting of creditors, and for such other and further relief as this Court deems just and proper.

              PLEASE TAKE FURTHER NOTICE, that answering papers, if any, shall be filed with the
Court and served upon the undersigned no later than three (3) days prior to the return date of this motion.

Dated: Islandia, New York                                   Yours, etc.
       July 5, 2018
                                                            MICHAEL J. MACCO
                                                            Chapter 13 Trustee
                                                            2950 Express Drive South, Suite 109
                                                            Islandia, New York 11749
                                                            (631) 549-7900

To:     Office of the United States Trustee
        MARK TRICARICO, Debtor(s)
        ANTHONY M. VASSALLO, ESQ., Attorney for Debtor(s)
        All Interested Parties and Creditors
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X         tmm1634
In re:
                                                                  Chapter 13
MARK TRICARICO                                                    Case No.: 18-73255-736

                           Debtor(s)                      APPLICATION
--------------------------------------------------------X
TO THE HONORABLE ROBERT E. GROSSMAN, UNITED STATES BANKRUPTCY JUDGE:

MICHAEL J. MACCO, Chapter 13 Trustee in the above captioned estate, respectfully represents as follows:

          1. The debtor(s) filed a Chapter 13 petition under the provisions of 11 U.S.C., on
May 12, 2018, and thereafter MICHAEL J. MACCO was duly appointed and has qualified as Trustee.

           2. Upon information and belief, this is the fourth petition for relief filed by
the debtor(s), under Chapter 13, dating back to January 6, 2009.

           3. The first petition was filed by the debtor(s) under case number 8-09-70039-736, on January
6, 2009. The debtor's Chapter 13 case was dismissed upon application of the Trustee on March 13, 2009.
The second petition was filed by the debtor(s) under case number 8-17-77296-736, on September 15, 2017.
The debtor's Chapter 13 case was automatically dismissed by the court on October 31, 2017. The third
petition was filed by the debtor(s) under case number 8-18-70999-736, on February 15, 2018. The debtor's
Chapter 13 case was automatically dismissed by the court on April 2, 2018.

           4. As of the date of this motion, the debtor(s) has failed to submit any monthly
pre-confirmation payments to the Trustee.

           5. In addition, as of this date the debtor(s) has failed to file and/or provide to the
Trustee, a Chapter 13 Plan; copies of paystubs for recent pay period including the last sixty (60) days;
Personal and Corporate State and Federal Tax Returns for 2017; written appraisal for property; list of
business assets and their fair market value including outstanding Accounts Receivable; and Operating
Reports.

           6. Furthermore, as of this date the debtor has failed to provide the Trustee with all
filings required under Section 521; and all mandatory disclosure documentation as set forth in Local
Bankruptcy Rule 2003-1.

           7. Moreover, the debtor failed to appear and/or be examined at the initial §341
meeting of creditors, held on June 18, 2018 at 11:00 a.m.

           8. This appears to be nothing more than another filing for the sole purpose of
obtaining the rights and benefits of the Automatic Stay, as provided in 11 U.S.C. §362.

              9. This is a material default and is prejudicial to the rights of the creditors of the
debtor(s).
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       WHEREFORE, the Trustee requests an Order pursuant to the provisions of 11 U.S.C. §§§ 109(g),
521, & 1307(c), dismissing this case with prejudice, prohibiting the debtor(s) from filing another petition
under Chapter 13 or converting a Chapter 7 to Chapter 13 for a period of period of one hundred eighty (180)
days, and for such other and further relief as this Court deems just and proper.

Dated: Islandia, New York
       July 5, 2018

                                                   /s/ Michael J. Macco
                                                   Michael J. Macco, Chapter 13 Trustee
                                                   2950 Express Drive South, Suite 109
                                                   Islandia, New York 11749
                                                   (631) 549-7900
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STATE OF NEW YORK                      )
COUNTY OF SUFFOLK                      )      ss.:

                STEPHANIE TURNER, being duly sworn, deposes and says: deponent is not a party to this
action, is over 18 years of age, and resides in Suffolk County, New York.

                    On July 5, 2018 deponent served the within:

                                       NOTICE OF MOTION AND APPLICATION

upon the following parties, at the addresses designated by said parties for that purpose, by depositing a true
copy of same, enclosed in a post-paid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York:

Mark Tricarico
4 Windsor Court
Coram, NY 11727
Debtor(s)

and upon the following parties, by the e-mail address designated by said parties for that purpose;

Office of the United States Trustee
Alfonse M. D’Amato U.S. Courthouse
USTPRegion02.LI.ECF@usdoj.gov

Anthony M. Vassallo, Esq.
Law Office of Anthony M. Vassallo
amvassallo@gmail.com
Attorney for Debtor(s)




                                                            /s/Stephanie Turner _
                                                            STEPHANIE TURNER
Sworn to before me this
5th day of JULY, 2018

/s/ Janine M. Zarrilli
NOTARY PUBLIC
Janine M. Zarrilli
Notary Public, State of New York
No. 01ZA5084708
Qualified in Nassau County
Commission Expires September 8, 2021
